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                        Telephone: 213.250.1800
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                    10 Attorneys for Defendants, UNIFYED,
                       LLC and CAMPUSEAI, INC.
                    11
                    12                              UNITED STATES DISTRICT COURT
                    13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    14
                    15 MELISSA ROBERTSON, an                           Case No. 2:22-cv-00323-RGK-JEM
                       individual,
                    16                                                 CERTIFICATE OF SERVICE RE:
                                    Plaintiff,                         NOTICE OF REMOVAL AND
                    17                                                 RELATED DOCUMENTS
                               vs.
                    18                                                 District Judge: R. Gary Klausner
                       UNIFYED, LLC, an Illinois limited               Courtroom 850
                    19 liability company; CAMPUSEAI, INC.,
                       an Ohio Corporation; and DOES 1-10
                    20 inclusive,                                      Trial Date:        None Set
                    21                      Defendants.
                    22
                    23            I, Danielle Morgan, certify and declare as follows:
                    24            I am over the age of 18 years and not a party to this action. My business
                    25 address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626. I am
                    26 employed in the office of a member of the bar of this Court at whose direction the
                    27 service was made.

LEWIS               28            On January 19, 2022, I mail served counsel for Plaintiff Melissa Robertson
BRISBOIS
BISGAARD                 4864-4027-9562.1
& SMITH LLP
ATTORNEYS AT LAW                                           CERTIFICATE OF SERVICE
                   Case 2:22-cv-00323-RGK-JEM Document 10 Filed 01/19/22 Page 2 of 3 Page ID #:91




                      1 (“Plaintiff”), the Notice to Clerk and to Adverse Party Re: Removal of Civil Action
                      2 to Federal Court, to which the following documents were attached: (1) Defendant’s
                      3 Notice of Removal of Civil Action, Exhibits A through H; (2) Declaration of Anjli
                      4 Jain; (3) Declaration of Madonna L. Devling; (4) Civil Cover Sheet; and (5)
                      5 Certification and Notice of Interested Parties.
                      6            On January 18, 2022, I caused to be filed with the Los Angeles County
                      7 Superior Court the Notice to Clerk and to Adverse Party Re: Removal of Civil
                      8 Action to Federal Court.
                      9            On January 19, 2022, I mail served Plaintiff’s counsel, a copy of the Notice of
                    10 Assignment to United States Judges (Document No. 7); and Initial Standing Order
                    11 Following Assignment of Civil Case to R. Gary Klausner.
                    12             The above-referenced documents were served on:
                    13             Devon M. Lyon, Esq.
                                   Matthew B. Perez, Esq.
                    14
                                   Lyon Legal, P.C.
                    15             2698 Junipero Ave., Suite 201A
                                   Signal Hill, CA 90755
                    16
                    17             I certify and declare under penalty of perjury under the laws of the United
                    18 States of America and the State of California that the foregoing is true and correct
                    19 and that this certificated was executed on January 19, 2022, at Costa Mesa,
                    20 California.
                    21
                    22                                                /s/Danielle Morgan
                                                                      Danielle Morgan
                    23
                    24
                    25
                    26
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                          4864-4027-9562.1                            2
ATTORNEYS AT LAW                                            CERTIFICATE OF SERVICE
                   Case 2:22-cv-00323-RGK-JEM Document 10 Filed 01/19/22 Page 3 of 3 Page ID #:92




                      1                        FEDERAL COURT PROOF OF SERVICE
                                                Melissa Robertson v. Unifyed, LLC, et al.
                      2                                 Case No. 21STCV37867
                      3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                      4        At the time of service, I was over 18 years of age and not a party to the action.
                        My business address is 650 Town Center Drive, Suite 1400, Costa Mesa, CA 92626.
                      5 I am employed in the office of a member of the bar of this Court at whose direction
                        the service was made.
                      6
                               On January 19, 2022, I served the following document(s): CERTIFICATE
                      7 OF SERVICE RE: NOTICE OF REMOVAL AND RELATED DOCUMENTS
                      8         I served the documents on the following persons at the following addresses
                          (including fax numbers and e-mail addresses, if applicable):
                      9
                       Devon M. Lyon, Esq.                           Attorneys for Plaintiff, MELISSA
                    10 Matthew B. Perez, Esq.                        ROBERTSON
                       Lyon Legal, P.C.
                    11 2698 Junipero Ave., Suite 201A                T: (562) 216-7382
                       Signal Hill, CA 90755                         F: (562) 216-7385
                    12
                                                                     Email: d.lyon@lyon-legal.com
                    13                                                      m.perez@lyon-legal.com
                    14             The documents were served by the following means:
                    15            (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
                                   addressed to the persons at the addresses listed above and I deposited the
                    16             sealed envelope or package with the U.S. Postal Service, with the postage
                                   fully prepaid.
                    17
                                  (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                    18             filed the documents with the Clerk of the Court using the CM/ECF system,
                                   which sent notification of that filing to the persons listed above.
                    19
                            I declare under penalty of perjury under the laws of the United States of
                    20 America and the State of California that the foregoing is true and correct.
                    21             Executed on January 19, 2022, at Costa Mesa, California.
                    22
                    23
                                                                      Danielle Morgan
                    24
                    25
                    26
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                          4864-4027-9562.1                           1
ATTORNEYS AT LAW                                           CERTIFICATE OF SERVICE
